 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 1 of 8 Page ID #:493



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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                              Case No. 2:19-cv-00494-AB-JEMx
11    WASHOUTPAN.COM, LLC,
                                                ORDER DENYING DEFENDANT’S
12                                              MOTION TO STRIKE AND DISMISS
                                                IN PART PLAINTIFF’S SECOND
                                Plaintiffs,     AMENDED COMPLAINT
13
14    v.
15    HD SUPPLY CONSTRUCTION
16    SUPPLY LTD., and DOES 1-10,
17
                                Defendants.
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           I. INTRODUCTION
20            Before the Court is Defendant HD Supply Construction Supply, Ltd.’s
21   (“Defendant”) motion to strike and dismiss in part Plaintiff Washoutpan.com, LLC’s
22   (“Plaintiff”) Second Amended Complaint. (Dkt. No. 35.) Plaintiff filed an opposition,
23   (Dkt. No. 38), and Defendant filed a reply. (Dkt. No. 39). The Court heard oral argument
24   regarding Plaintiff’s motion on November 1, 2019. For the reasons stated below the
25   Court DENIES Defendant’s motion to strike and dismiss in part Plaintiff’s Second
26   Amended Complaint.
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 2 of 8 Page ID #:494



1          II. BACKGROUND
2             Plaintiff manufactures industrial containment products, including “concrete pans
3    used to receive and contain liquid concreate waste from concreate pumps and ready mix
4    trucks.” (Dkt. No. 34, Second Am. Compl. (“SAC”) ¶¶ 13–14.) At some point prior to
5    the commencement of this action, Plaintiff and Defendant entered into a Supplier Buyer
6    Agreement for Defendant to distribute Plaintiff’s washout pan products. Id. ¶¶ 1, 18.
7    The Agreement had a start date of January 1, 2014. Id. ¶ 18. Defendant sold Plaintiff’s
8    washout pans for several years, but then stopped purchasing washout pans from Plaintiff
9    in February 2018, when the parties entered into a settlement agreement and release
10   terminating the Supplier Buyer Agreement. Id. ¶¶ 24, 25.
11            In February 2018, Defendant allegedly began selling concrete containment pans
12   and lids imitating Plaintiff’s washout pan products, and using Plaintiff’s photographs
13   of washout pan products, without authorization, on Defendant’s website, in catalogues,
14   and as paid keyword targeted Google Adwords for the sale of the imitation pans. Id. ¶
15   28.
16                On January 22, 2019, Plaintiff filed a complaint against Defendant. (Dkt. No. 1).
17   On March 25, 2019, Plaintiff filed its First Amended Complaint alleging nine causes of
18   action against Defendant. (Dkt. No. 19.) Defendant moved to dismiss Plaintiff’s First
19   Amended Complaint on April 12, 2019. (Dkt. No. 21.) This Court granted in part and
20   denied in part Defendant’s motion, and granted Plaintiff leave to amend, on August 5,
21   2019. (Dkt. No. 33.) Plaintiff filed its SAC on August 26, 2019, which Defendant now
22   seeks to dismiss and strike in part.
23         III.     LEGAL STANDARDS
24                  a. Rule 12(b)(6) standard
25            Federal Rule of Civil Procedure 8 requires a plaintiff to present a “short and plain
26   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
27   8(a)(2). Under Rule 12(b)(6), a defendant may move to dismiss a pleading for “failure
28   to state a claim upon which relief can be granted.”
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 3 of 8 Page ID #:495



1          To defeat a Rule 12(b)(6) motion to dismiss, the complaint must provide enough
2    factual detail to “give the defendant fair notice of what the . . . claim is and the grounds
3    upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The
4    complaint must also be “plausible on its face,” allowing the Court to “draw the
5    reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft
6    v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff’s “factual allegations must be enough to
7    raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555. “The
8    plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than
9    a sheer possibility that a defendant has acted unlawfully.” Id. Labels, conclusions, and
10   “a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550
11   U.S. at 555.
12         When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all of the
13   factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94
14   (2007). But a court is “not bound to accept as true a legal conclusion couched as a
15   factual allegation.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted).
16             b. Rule 12(f) standard
17         Under Federal Rule of Civil Procedure 12(f), a court “may strike from a pleading
18   an insufficient defense or any redundant, immaterial, impertinent, or scandalous
19   matter.” The function of a Rule 12(f) motion to strike “is to avoid the expenditure of
20   time and money that must arise from litigating spurious issues by dispensing with those
21   issues prior to trial.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. Cal. 1993)
22   (quotation omitted) (overruled on other grounds in Fogerty v Fantasy Inc., 510 U.S.
23   517 (1994)). If there is any doubt as to whether the allegations might be an issue in the
24   action, the motion should be denied. Id.
25
        IV.    DISCUSSION
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           Defendant seeks to strike Plaintiff’s “photograph-related” allegations on the
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     ground that they are preempted by the Copyright Act. (Dkt. No. 35-1 at 3–5.) Defendant
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 4 of 8 Page ID #:496



1    also seeks to dismiss Plaintiff’s second cause of action for federal false advertising, and
2    Plaintiff’s third and ninth1 causes of action for trade dress infringement and common
3    law trade dress infringement.
4          1. Defendant’s motion to strike Plaintiff’s photograph-related allegations as
5               pre-empted by the Copyright Act is DENIED
6          Defendant, without identifying specific causes of action, moves to strike
7    Plaintiff’s photograph-related allegations as pre-empted by the Copyright Act. The
8    Court previously rejected this argument in granting in part and denying in part
9    Defendant’s motion to dismiss Plaintiff’s First Amended Complaint. See (Dkt. No. 33
10   at 6–7.)
11         Defendant argues anew that Plaintiff’s photograph-based allegations should be
12   stricken because (1) they are pre-empted by the Copyright Act, and (2) they are
13   irrelevant and impertinent since Plaintiff has not re-alleged a Copyright Act violation
14   in its SAC. (Dkt. No. 35-1 at 3–5). However, because the Court concludes, as before,
15   that “Plaintiff’s remaining causes of action relate to more than Defendant’s use of its
16   copyrighted photographs,” see (Dkt. No. 33 at 6–7), the rights asserted under Plaintiff’s
17   state law claims are not equivalent to the rights protected under 17 U.S.C. § 106.2 See
18   Laws v. Sony Music Entm’t, Inc., 448 F.3d 1134, 1137–38 (9th Cir. 2006) (setting out
19   two-part test for preemption of state law claims under the Copyright Act).
20         Moreover, because the photographs submitted as exhibits to Plaintiff’s SAC, and
21   the allegations based on those photographs, are relevant to Plaintiff’s causes of action
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       Although Defendant’s motion states that it seeks to dismiss Plaintiff’s eighth cause
24   of action for trade dress infringement, because Plaintiff’s eighth cause of action is for
     common law trademark infringement, rather than trade dress infringement, the Court
25   interprets Defendant’s motion as seeking to dismiss Plaintiff’s ninth cause of action
26   for common law trade dress infringement.
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       That Plaintiff’s Second Amended Complaint does not re-allege a Copyright Act
27   violation claim has no effect in this case on the Court’s conclusion that Plaintiff’s state
     law causes of action for false advertisement and unfair competition assert different
28   rights than those protected under the Copyright Act.
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 5 of 8 Page ID #:497



1    for false advertising and unfair competition, Defendant is incorrect to argue that
2    Plaintiff’s photograph-based allegations are irrelevant and impertinent without
3    Plaintiff’s Copyright Act claim.
4             The Court accordingly DENIES Defendant’s motion to strike Plaintiff’s
5    photograph-based claims under Rule 12(f).
6             2. Defendant’s motion to dismiss Plaintiff’s second cause of action is
7                DENIED
8             Defendant seeks to dismiss Plaintiff’s second cause of action for federal false
9    advertising under 15 U.S.C. § 1125(a) on the ground that Plaintiff fails to plead any
10   facts showing that Defendant produced an advertisement that was materially false or
11   misleading. (Dkt. No. 35-1 at 5–11.)
12            To establish a false advertising claim3 under the Lanham Act, a plaintiff must
13   allege: “(1) a false statement of fact by the defendant in a commercial advertisement
14   about its own or another’s product; (2) the statement actually deceived or has the
15   tendency to deceive a substantial segment of its audience; (3) the deception is material,
16   in that it is likely to influence the purchasing decision; (4) the defendant caused its false
17   statement to enter interstate commerce; and (5) the plaintiff has been or is likely to be
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20       15 U.S.C. § 1125(a) provides in pertinent part:
21        (1) Any person who, on or in connection with any goods or services, or
              any container for goods, uses in commerce any word, term, name,
22            symbol, or device . . . or any false designation of origin, which . . .
23
                    (B) in commercial advertising or promotion, misrepresents the
24                  nature, characteristics, qualities, or geographic origin of his or
                    her or another person’s goods, services, or commercial
25                  activities,
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             shall be liable in a civil action by any person who believes that he or
27           she is or is likely to be damages by such an act.
28           15 U.S.C. § 1125(a)(1)(B).
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 6 of 8 Page ID #:498



1    injured as a result of the false statement, either by direct diversion of sales from itself
2    to defendant or by a lessening of the goodwill associated with its products.” Southland
3    Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997); see also Newcal
4    Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1052 (9th Cir. 2008). “To
5    demonstrate falsity within the meaning of the Lanham Act, a plaintiff may show that
6    the statement was literally false, either on its face or by necessary implication, or that
7    the statement was literally true but likely to mislead or confuse consumers.” Id.
8          Lanham Act false advertising claims are subject to Rule 9(b)’s heightened
9    pleading requirements. Tortilla Factory, LLC v. Better Booch, LLC, No. 2:18-CV-
10   02980-CAS (SKx), 2018 WL 4378700, at *8 (C.D. Cal. Sept. 13, 2018); Obesity
11   Research Institute, LLC v. Fiber Research Int’l, LLC, 165 F. Supp. 3d 937 (S.D. Cal.
12   2016). A plaintiff asserting false advertising claims under the Lanham Act must identify
13   “the who, what, when, where, and how of the misconduct charged, as well as what is
14   false or misleading about the purportedly false statement, and why it is false.” Tortilla
15   Factory, 2018 WL 4378700 at *7 (quoting Davidson v. Kimberly-Clark Corp., 889 F.3d
16   956, 964 (9th Cir. 2018)).
17         In its SAC, Plaintiff alleges (1) that Defendant created and posted product links
18   on its website that included Plaintiff’s trademark and product numbers, SAC ¶¶ 70–71,
19   (2) that Defendant paid Google Adwords to divert consumers searching for Plaintiff’s
20   product to Defendant’s website listings, id. ¶ 72, (3) that the webpages linked to featured
21   Plaintiff’s photographs depicting Plaintiff’s washout pans, while the products sold were
22   not Plaintiff’s washout pans, id. ¶ 73, (4) that Defendant used a Concrete Tray Lifting
23   Ratings sheet that Plaintiff commissioned in marketing its washout pans, although the
24   pans were not certified, id. ¶ 75, and (5) that Defendant distributed a hard-copy
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     catalogue in 2018 and 2019 containing photographs of Plaintiff’s pans, product numbers,
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     and trademark, id. ¶ 76.
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 7 of 8 Page ID #:499



1          Here, Plaintiff has alleged sufficient facts to survive dismissal of its false
2    advertising claim. In particular, Plaintiff alleges (1) that it sent Defendant high
3    resolution photographs of Plaintiff’s pans on or about December 4, 2012, SAC ¶ 20, (2)
4    that immediately after January 23, 2018, Defendant used Plaintiff’s photographs of
5    Plaintiff’s pans, Plaintiff’s product serial numbers, and Plaintiff’s trademark in
6    advertisements4 on Defendant’s website and in Defendant’s catalogues, id. ¶¶70–71, 73,
7    76, and (3) that at the time Defendant used the photographs, serial numbers, and
8    trademark in these advertisements, Defendant was not actually selling Plaintiff’s pans.
9    Id. ¶¶ 70, 72. These allegations are sufficient to allege a cause of action under 15 U.S.C.
10   § 1125(a)(1)(B). See Jurin v. Google, Inc., 695 F. Supp. 2d 1117, 1121 (E.D. Cal. 2010)
11   (“A violation of [15 U.S.C. § 1125(a)(1)(B)”] occurs when a producer misrepresents
12   his own goods or services as someone else’s, or, conversely, when he represents
13   someone else’s goods and services as his own.”) (citing Optimum Techs. Inc. v. Henkel
14   Consumer Adhesives, Inc., 496 F.3d 1231, 1248 (11th Cir. 2007)).
15         The Court accordingly DENIES Defendant’s motion to dismiss Plaintiff’s
16   second cause of action.
17         3. Defendant’s motion to dismiss Plaintiff’s third and ninth causes of action
18             is DENIED
19         Defendant seeks to dismiss Plaintiff’s third cause of action for trade dress
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       Defendant argues that the webpage links referenced in Plaintiff’s SAC do not
23   constitute advertisements for the purposes of a false advertising claim under the
     Lanham Act, as they are not commercial speech. See Dkt. No. 35-1 at 9–10.
24   However, “[t]he core notion of commercial speech is that it does no more than
     propose a commercial transaction.” Hoffman v. Capital Cities/ABC, Inc., 255 F.3d
25   1180, 1184 (9th Cir. 2001) (quoting Bolger v. Young Drug Prods. Corp., 463 U.S. 60,
26   66 (1983)) (internal quotation marks omitted). Because the website links identified by
     Plaintiff propose a commercial transaction, as delineated in the exhibits attached to
27   Plaintiff’s complaint, see Dkt. Nos. 34-2, 34-3, the Court finds Defendant’s argument
     that these webpages do not constitute advertisements within the meaning of the
28   Lanham Act unavailing.
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 Case 2:19-cv-00494-AB-JEM Document 44 Filed 12/04/19 Page 8 of 8 Page ID #:500



1    infringement and ninth5 cause of action for common law trade dress infringement on
2    the grounds that (1) Plaintiff fails to identify the type of trade dress Defendant allegedly
3    violated, (2) Plaintiff fails to allege the non-functionality of its trade dress, and (3)
4    Plaintiff fails to allege the distinctiveness of its trade dress. (Dkt. No. 35-1 at 12–16).
5             First, Defendant cites no authority, and the Court finds none, that a failure to
6    specifically elect a trade dress claim for either product configuration or product
7    packaging is a proper basis for dismissing Plaintiff’s causes of action for trade dress
8    infringement. Second, as Plaintiffs correctly argue, the functionality inquiry is a heavily
9    fact-dependent one that is not appropriate for resolution at the motion to dismiss stage.
10   See SCG Characters LLC v. Telebrands Corp., No. 15-cv-00374, 2015 WL 4624200,
11   at *7 (C.D. Cal. Aug. 3, 2015). Finally, Plaintiffs have alleged sufficient facts to show
12   the distinctiveness of its purported trade dress, including the combination of serial
13   numbers, Plaintiff’s product tag, its product color, the rolling floor of its pans, and the
14   fifth “D” ring on its pans. See e.g., SAC ¶ 89.
15            The Court accordingly DENIES Defendant’s motion to dismiss Plaintiff’s third
16   and ninth causes of action.
17
          V. CONCLUSION
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              For the reasons stated above, the Court DENIES Defendant’s motion to strike
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     and dismiss in part Plaintiff’s SAC.
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              IT IS SO ORDERED.
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     Dated: December 4, 2019           _______________________________________
24                                     HONORABLE ANDRÉ BIROTTE JR.
25                                     UNITED STATES DISTRICT COURT JUDGE
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         See note 1, supra.
                                                 8.
